                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION


UNITED STATES OF AMERICA                     )       DOCKET NO. 1:09CR23
                                             )
               vs.                           )       ORDER FOR DISMISSAL
                                             )
5)KENNETH LEE GARDNER                        )


       THIS MATTER is before the Court on motion of the Government to dismiss the Bill of

Indictment, as it relates to KENNETH LEE GARDNER only, without prejudice.

       For the reasons stated in the motion and for cause shown,

       IT IS, THEREFORE, ORDERED that the Government’s motion is ALLOWED, and

the indictment herein, as it relates to KENNETH LEE GARDNER only, is hereby

DISMISSED WITHOUT PREJUDICE.

       The Clerk is directed to transmit this Order electronically to Defendant’s counsel, the

United States Attorney, the United States Probation Officer, and to the United States Marshal.

                                                 Signed: July 31, 2009




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